       Case 2:23-cv-01049-JWH-KES Document 312 Filed 05/02/24 Page 1 of 5 Page ID #:9427
Name and address:
                Diana Hughes Leiden (SBN: 267606)
                   WINSTON & STRAWN LLP
         333 S. Grand Avenue, Los Angeles, CA 90071-1543
                      dhleiden@winston.com

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
ENTROPIC COMMUNICATIONS, LLC,
                                                                                                   2:23-cv-01049-JWH-KES
                                                         Plaintiff(s),                     Consolidated with 2:23-cv-01050-JWH-KES
                 v.
                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
COMCAST CORPORATION, et al.,                                                        TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
    designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
    Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
    grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
    Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Costello, Christina
Applicant's Name (Last Name, First Name & Middle Initial)                                             check here if federal government attorney
Davis Polk & Wardwell LLP
Firm/Agency Name
450 Lexington Avenue                                                     212-450-3359                              212-701-6359
                                                                         Telephone Number                          Fax Number
Street Address
New York, NY 10017                                                                           christina.costello@davispolk.com
City, State, Zip Code                                                                                  E-mail Address

I have been retained to represent the following parties:
Comcast Corporation, Comcast Cable Commn's, LLC and                         Plaintiff(s)    ✖   Defendant(s)   ✖   Other: Consol Defendants
Comcast Cable Commn's Management, LLC                                       Plaintiff(s)    ✖   Defendant(s)   ✖   Other: Consol Defendants
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name of Court                          Date of Admission             Active Member in Good Standing? (if not, please explain)
New York State                                              9/21/2020               Yes
USDC E.D. NY                                                1/29/2022               Yes



G-64 (10/23)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                                  Page 1 of 3
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        April 30, 2024


                                       /s/ Diana Hughes Leiden
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                  Appellate Division of the Supreme Court
                          of the State of New York
                         First Judicial Department


             I, Susanna M. Rojas, Clerk of the Appellate Division of the
      Supreme Court of the State of New York, First Judicial
      Department, do hereby certify that

                         Christina Anne Costello
      was duly licensed and admitted to practice as an Attorney and
      Counselor at Law in all the courts of this State on September
                                                                  r 21,,
      2020, has duly taken and subscribed the oath of office prescribed
      by law, has been enrolled in the Roll of Attorneys and Counselors
      at Law on file in this office, is duly registered with the Office of
      Court Administration, and according to the records of this Court
      is currently in good standing as an Attorney and Counselor-at-
      Law.



                                 In Witness Whereof, I have hereunto set
                                 my hand in the City of New York on
                                 April 24, 2024.




                                            Clerk of the Court




      CertID-00171429
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                        Supreme Court of the State of New York
                         Appellate Division, First Department

        DIANNE T. RENWICK                                                                 MARGARET SOWAH
           PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


      SUSANNA MOLINA ROJAS                                                           DOUGLAS C. SULLIVAN
           CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


      To Whom It May Concern


             An attorney admitted to practice by this Court may request a certificate of good
      standing, which is the only official document this Court issues certifying to an
      attorney's admission and good standing.


             An attorney's registration status, date of admission and disciplinary history may
      be viewed through the attorney search feature on the website of the Unified Court
      System.


             New York State does not register attorneys as active or inactive.


            An attorney may request a disciplinary history letter from the Attorney
      Grievance Committee of the First Judicial Department.


           Bar examination history is available from the New York State Board of Law
      Examiners.


             Instructions, forms and links are available on this Court's website.




                                                              Susanna Rojas
                                                              Clerk of the Court




      Revised October 2020


                                27 MADISON AVENUE   NEW YORK, NEW YORK 10010-2201
                          TEL.: (212) 340 0400   INTERNET: WWW.NYCOURTS.GOV/COURTS/AD1/
